19-70106-smr Doc#195 Filed 10/25/19 Entered 10/25/19 14:41:20 Main Document Pg 1 of
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                          UNITED STATES BANKRUPTCY COURT
                             WESTERN DISTRICT OF TEXAS
                                  MIDLAND DIVISION

  In re:                                      §
                                              §
  Remnant Oil Company, LLC and                § Case No. 19-70106
  Remnant Oil Operating, LLC,                 § Case No. 19-70107
                                              §
           Debtors.                           § Chapter 11
                                              §
                                              § (Jointly administered under
                                              § Case No. 19-70106)

                      NOTICE OF CANCELLATION OF SALE HEARING

           PLEASE TAKE NOTICE that pursuant to the Order (I) Approving Bidding Procedures

  for the Sale Of Substantially All of the Debtors’ Assets, (II) Authorizing the Selection of A

  Stalking Horse Bidder, (III) Approving Bid Protections, (IV) Scheduling an Auction and Hearing

  to Consider Such Sale of Assets, (V) Approving Assumption and Assignment Procedures Related

  to Such Sale, and (VI) Approving the Form and Manner of Related Notice [Docket No. 133] (the

  “Bidding Procedures Order”) and Order Granting Debtors’ Emergency Motion for (1)

  Extension of Bidding Procedures Deadlines, and (2) Continuance of October 23, 2019 Hearing

  on Debtors’ Sale Motion [Docket No. 172], a hearing on approval of a sale of the Debtors’ assets

  was scheduled to be held on October 31, 2019 at 1:00 p.m. (CT) (the “Sale Hearing”).

           PLEASE TAKE FURTHER NOTICE that, while the Debtors received an offer for

  their Wind Rights prior to the Bid Deadline, they have determined in their business judgment

  that the offer is insufficient, and have, therefore, determined to reject it. Moreover, while the

  Debtors have received and are pursuing an indication of interest for their Caprock Assets, the

  indication of interest was received after the Bid Deadline. Accordingly, as the Debtors will not

  be moving forward with any asset sales at this time, the Sale Hearing is cancelled.



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19-70106-smr Doc#195 Filed 10/25/19 Entered 10/25/19 14:41:20 Main Document Pg 2 of
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                                         Possession




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19-70106-smr Doc#195 Filed 10/25/19 Entered 10/25/19 14:41:20 Main Document Pg 3 of
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                                  CERTIFICATE OF SERVICE

          I hereby certify that on October 25, 2019, a true and correct copy of the above and
  foregoing Notice was caused to be served electronically on the parties registered to receive
  notice through the court’s ECF noticing system. I hereby further certify that within twenty four
  hours of the filing of this Notice, a true and correct copy of the above and foregoing Notice was
  caused to be served via first class U.S. mail, postage prepaid, on the parties on the 2002 list by
  the Debtors’ claims and noticing agent, Donlin, Recano & Company, In


                                                      By: . /s/ Bernard R. Given
                                                           Bernard R. Given II




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